  Case 19-15611-elf          Doc 35      Filed 02/06/20 Entered 02/06/20 16:58:45                     Desc Main
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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Lisa A. Pellegrino
       Frank J. Pellegrino                                                             CHAPTER 13
                                  Debtor(s)

ABS REO Trust V
                                  Movant
                 vs.                                                                NO. 19-15611 ELF

Lisa A. Pellegrino
Frank J. Pellegrino
                                  Debtor(s)

William C. Miller Esq.                                                             11 U.S.C. Section 362
                                  Trustee

                                  MOTION OF ABS REO Trust V
                            FOR RELIEF FROM THE AUTOMATIC STAY
                                     UNDER SECTION 362

         1.       Movant is ABS REO Trust V.

         2.       Debtor(s) is/are the owner(s) of the premises 406 Stratford Road, Glenolden, PA 19036,

 hereinafter referred to as the mortgaged premises.

         3.       Movant is the holder of a mortgage, original principal amount of $67,300.00 on the

 mortgaged premises that was executed on December 27, 2007 by Frank J. Pellegrino and Lisa Ann Roesch-

 Pellegrino as co-mortgagors. Said mortgage was recorded on January 10, 2008 at Instrument No.

 2008002526. The Mortgage was subsequently assigned to Movant by way of Assignment of Mortgage

 recorded on February 13, 2019, at Instrument No. 2019006719 in Delaware County. Documentation attached

 hereto as Exhibit A is provided in support of right to seek a lift of stay and foreclose if necessary.

         4.       Select Portfolio Servicing, Inc. services the loan on the property referenced in this Motion

 for Relief. In the event the automatic stay in this case is lifted/set aside, this case dismisses, and/or the debtor

 obtains a discharge and a foreclosure action is commenced on the mortgaged property, the foreclosure will be

 conducted in the name of ABS REO Trust V. Said entity has the right to foreclose by virtue of being the

 owner and holder of the note. The promissory note is either made payable to said entity or has been duly

 endorsed.

         5.       William C. Miller Esq., is the Trustee appointed by the Court.
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        6.      The commencement and/or continuation of the mortgage foreclosure proceedings by reason

of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

Bankruptcy by the Debtor(s).

        7.      Debtor(s) have failed to make the monthly post-petition mortgage payments in the amount

of $573.44 for the months of October 2019 through December 2019.

        8.      As of December 11, 2019 the total amount necessary to reinstate the loan post-petition is

$1,720.32.

        9.      As of December 11, 2019 the total unpaid principal balance due is $46,501.29.

        10.     Movant is entitled to relief from the automatic stay for cause pursuant to 11 U.S.C. § 362(d).

        11.     This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.


                                                       /s/Rebecca A. Solarz, Esquire
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